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                                                                October 19, 2018


 Hon. Leda Dunn Wettre
 Magistrate Judge U.S. District Court
 M. L. King, Jr. Federal Building & Courthouse
 50 Walnut St., Room 2060
 Newark, NJ 07102

                            Re: Related Perrigo Securities Actions: Coordination of Discovery

 Dear Magistrate Judge Wettre,

          This firm represents plaintiffs in a number of individual securities actions related to
 Roofers’ Pension Fund v. Papa and Perrigo Company plc, No. 2:26-cv-2805(MCA)(LDW) (“Class
 Action”). With Robbins Geller Rudman & Dowd LLP, we represent plaintiffs in TIAA-CREF
 Investment Management, LLC, et al. v. Perrigo Company plc et al. (No. 2:18-CV-08175-MCA-
 LDW); and Harel Insurance Company, et al. v. Perrigo Company plc et al. (No. 2:18-CV-02074-
 MCA-LDW). And with Kessler Topaz Meltzer and Check, LLP, we represent plaintiffs in
 Carmignac Gestion, S.A. v. Perrigo Company plc et al. (No. 2:17-CV-10467-MCA-LDW); First
 Manhattan Co. v. Perrigo Company plc et al. (No. 2:18-CV-02291-MCA-LDW); and Manning &
 Napier Advisors, LLC v. Perrigo Company plc et al. (No. 2:18-CV-00674-MCA-LDW). 1 We write
 jointly on behalf of the Individual Action Plaintiffs in regard to the October 24, 2018 scheduling
 conference in the Class Action.

         The Individual Action Plaintiffs and Defendants have had a number of discussions
 concerning the coordination of discovery in the Related Actions. In that regard, Plaintiffs plan to
 attend the scheduling conference to participate in argument surrounding the facilitation of discovery
 in the Related Actions. The Individual Action Plaintiffs and Defendants have agreed to the
 following discovery deadlines:

                                                  INDIVIDUAL ACTION PLAINTIFFS’
           FACT DISCOVERY
                                                                POSITION
       Fed. R. Civ. P. 26(a)(1)               November 16, 2018
       disclosures




 1
          The above referenced individual actions will be referred to collectively as the “Individual Actions.” And the
 Individual Actions and the Class Action will be referred to collectively as the “Related Actions.”
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       Completion of document           Substantial completion of document production shall
       production                       be no later than the deadline for substantial
                                        completion of document production in the Perrigo
                                        Class Action.
       Amendment of pleadings           Pleadings may be amended (including any
                                        amendment to add or join parties) without further
                                        leave of Court by no later than the deadline in the
                                        Perrigo Class Action. Thereafter, amendment may
                                        only be made with leave of Court for good cause
                                        shown.
       Fact discovery deadline          60 days following the fact discovery deadline in the
                                        Perrigo Class Action.
       EXPERT DISCOVERY
       Affirmative expert reports       Affirmative expert report(s) shall be served by the
                                        party bearing the burden of proof for a subject no
                                        later than 60 days after affirmative expert reports are
                                        served by the party bearing the burden of proof in
                                        the Perrigo Class Action.
       Rebuttal expert reports          No later than 60 days following the deadline to serve
                                        rebuttal expert reports in the Perrigo Class Action.
       Reply expert reports             No later than 60 days following the deadline to serve
                                        reply expert reports in the Perrigo Class Action.
       Expert depositions               No later than 60 days following the deadline for
                                        expert depositions in the Perrigo Class Action.
       PRE-TRIAL AND TRIAL
       Dispositive motion deadline      TBD
       Pre-trial conference             TBD
       Trial                            TBD

        The Individual Action Plaintiffs and Defendants have also agreed on the following:

         1.     The requests for production served on Defendants in the Class Action will be
 deemed served in the Individual Actions, but with a relevant period of January 1, 2013 through May
 22, 2017. The parties agree that Defendants’ objections and responses shall likewise be deemed
 served in the Individual Actions, including any objections related to the relevant period. Also,
 Individual Action Plaintiffs agree not to serve additional document requests until after Defendants
 have made their first production of documents in response to the requests already served on them
 in the Class Action.

         2.      All discovery in any of the Related Actions will be deemed discovered in each of
 the actions, including non-party discovery to the extent the non-party agrees. Excluded from this
 agreement is any discovery (1) produced by current or former employees or agents of Lead Plaintiffs
 or Class Representatives; (2) solely and directly related to Lead Plaintiffs’ or Class Representatives’
 investment decisions, standing, typicality or adequacy of representation; and (3) produced by the
 Individual Action Plaintiffs or any third-party related to the Individual Action Plaintiffs.
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        3.      The Individual Action Plaintiffs will participate in any meaningful discussions
 between Defendants and the Class concerning discovery, including the meet and confer process and
 discussions related to scope and the parameters and process of electronic discovery.

         4.      Depositions taken in the Class Action shall be deemed taken in the Individual
 Actions and the Individual Action Plaintiffs will be permitted to have a full right of participation in
 the fact witness depositions, including the opportunity to examine witnesses during the depositions
 (subject to coordination with Class counsel). The parties in the Related Actions have not agreed to
 the amount of time each witness will be required to sit for his or her deposition. The Individual
 Action Plaintiffs propose to address this issue at the conference.

         5.      The interrogatories served on Defendants in the Class Action are deemed served in
 the Individual Actions. Likewise, Defendants’ objections and responses to the interrogatories in
 the Class Action are deemed objections and responses in the Individual Actions. The parties also
 agree that the combined Plaintiffs in each Individual Action are provided five interrogatories in
 addition to the Class Action interrogatories and the combined Defendants in each Individual Action
 are limited to ten interrogatories in each Individual Action.

         The Individual Action Plaintiffs and Defendants have not agreed to the number of
 depositions that each side in the Individual Action should be permitted to take in addition to the
 depositions in the Class Action. The parties agree that each side should be permitted to take a
 limited number of additional depositions, however, the precise number will be determined at a later
 date.

        The Individual Action Plaintiffs look forward to participating in the October 24, 2018
 scheduling conference and facilitating coordinated discovery in the Related Actions. Thank you
 for your consideration.

                                                       Respectfully submitted,




                                                       Christopher A. Seeger


 cc:    All counsel of record
